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    BLINDING EDGE PICTURES, INC.; UNCLE
  9 GEORGE PRODUCTIONS, LLC; APPLE INC.;
    ESCAPE ARTISTS, INC. (erroneously sued as
 10 ESCAPE ARTISTS LLC); DOLPHIN BLACK
    PRODUCTIONS; M. NIGHT SHYAMALAN;
 11 TONY BASGALLOP; ASHWIN RAJAN;
    JASON BLUMENTHAL; TODD BLACK;
 12 STEVE TISCH
 13
                                         UNITED STATES DISTRICT COURT
 14
                                   CENTRAL DISTRICT OF CALIFORNIA
 15
      FRANCESCA GREGORINI,                              Case No. 2:20-cv-00406-JFW-JC
 16
                                         Plaintiff,     DECLARATION OF NICOLAS A.
 17                                                     JAMPOL IN SUPPORT OF JOINT
               vs.                                      STIPULATION TO SET HEARING
 18                                                     DATE FOR MOTION TO DISMISS
    APPLE INC., a California corporation;               FIRST AMENDED COMPLAINT
 19 M. NIGHT SHYAMALAN, an                              AND CONTINUE SCHEDULING
    individual, BLINDING EDGE                           CONFERENCE
 20 PICTURES, INC., a Pennsylvania
    corporation; UNCLE GEORGE
 21 PRODUCTIONS, a Pennsylvania
    corporate; ESCAPE ARTISTS LLC, a
 22 California limited liability company;
    DOLPHIN BLACK PRODUCTIONS, a
 23 California corporation; TONY
    BASGALLOP, an individual; ASHWIN
 24 RAJAN, an individual; JASON
    BLUMENTHAL, an individual; TODD
 25 BLACK, an individual; STEVE TISCH,
    an individual; and DOES 1-10, inclusive,
 26
                           Defendants.
 27
 28

      DECLARATION OF NICOLAS A. JAMPOL
      4810-5076-6007v.1 0113237-000003
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  1                             DECLARATION OF NICOLAS A. JAMPOL
  2            I, Nicolas A. Jampol, declare as follows:
  3            1.        I am an attorney admitted to practice before all courts of the State of
  4 California and before this Court. I am an partner in the law firm of Davis Wright
  5 Tremaine LLP, and I am lead trial counsel for defendants Blinding Edge Pictures,
  6 Inc., Uncle George Productions, LLC, Apple Inc., Escape Artists, Inc. (erroneously
  7 sued as Escape Artists LLC), Dolphin Black Productions, M. Night Shyamalan,
  8 Tony Basgallop, Ashwin Rajan, Jason Blumenthal, Todd Black, and Steve Tisch
  9 (collectively “Defendants”) in this matter. If called to testify, I could and would
 10 competently testify to these facts.
 11                             Motion to Dismiss Hearing and Related Dates
 12            2.        After Defendants moved to dismiss plaintiff Francesca Gregorini’s
 13 (“Plaintiff”) complaint on February 18, 2020, Plaintiff filed a first amended
 14 complaint (“FAC”) on March 10, 2020. Defendants have reviewed the FAC and
 15 intend to file a motion to dismiss the FAC on or before their current deadline of
 16 March 24, 2020.
 17            3.        Counsel for the parties have met and conferred regarding scheduling.
 18 Plaintiff’s counsel has requested that Defendants set the motion’s hearing date for
 19 May 4, 2020, due to scheduling concerns. Defendants are amenable to that date, but
 20 require the Court’s permission as the date falls more than 35 calendar days after
 21 their motion will be filed and served.
 22            4.        Because the local rules set opposition deadlines from the date of a
 23 motion’s hearing, setting a hearing date more than 35 days from the motion’s
 24 service will provide Plaintiff with significant additional time to draft their
 25 opposition. The parties have agreed that if the motion to dismiss is set for a May 4,
 26 2020 hearing, Plaintiff shall have until April 8, 2020 to file her opposition, and
 27 Defendants will have until April 20, 2020 to file their reply.
 28
                                                                              DAVIS WRIGHT TREMAINE LLP
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  1                                       Scheduling Conference
  2            5.        In addition, the scheduling conference is currently scheduled to take
  3 place on April 6, 2020, which is before the hearing on Defendants’ motion to
  4 dismiss the FAC. Dkt. 23. Given that the Court set the scheduling conference for
  5 two weeks after the scheduled hearing date on Defendants’ initial motion,
  6 Defendants requested that Plaintiff agree to jointly request that the Court move the
  7 scheduling conference to two weeks after the proposed hearing date on Defendants’
  8 own motion to dismiss the FAC, i.e., to May 18, 2020 at 1:15 p.m. This
  9 postponement would enable the parties to focus on the briefing for the motion to
 10 dismiss, and then once that is completed, to fulfill their obligations pursuant to
 11 Federal Rule of Civil Procedure 26. It would also enable the Court to hold the
 12 scheduling conference after the hearing on the Defendants’ motion to dismiss the
 13 action. Plaintiff agreed to make this joint request.
 14
 15            I declare under penalty of perjury that the foregoing is true and correct, and
 16 that this declaration was executed on the 11th day of March 2020, in Los Angeles,
 17 California.
 18
                                                          /s/ Nicolas A. Jampol
 19                                                             Nicolas A. Jampol
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                                                                             DAVIS WRIGHT TREMAINE LLP
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